        CASE 0:21-cr-00228-DWF-ECW Doc. 1 Filed 10/26/21 Page 1 of 3




                            LINITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA
                                                                          0{   al-aa 8 wzl         ErnL)
 UNITED STATES OF AMERICA,                        )       INDICTMENT
                                                  )
                     Plaintiff,                  )        18   U.S.C. $ 922(eXl)
                                                 )        18 u.S.c.   $ e22(oX1)
              v.                                 )        18 u.S.c.   5 e2a@)Q)
                                                 )        18 u.S.c.   $ e24(d)(1)
MARQUES DWELL ARMSTRONG,                    JR., )        26 U.S.C.   $ 5845(b)
       a/Wa"Kease,"                              )        28 U.S.C.   $ 2461(c)
                                                  )
                     Defendant.                   )

      TIM LNITED STATES GRAND JURY CHARGES THAT:

                                           COUNT      1
                                  (Possession of a Machinegun)

      On or about October 12,202I, in the State and District of Minnesota, the defendant,

                     MARQUES DWELL ARMSTRONG, JR.,
                                          a/Wa"Kease,"

did knowingly possess   a   machinegun, namely, a 9mm-caliber Glock pistol, model 26,with

a high-capacity magazine, bearing serial number FMC403, equipped with an attached

conversion device, commonly known as a "switch" or "auto sear," enabling it to be fired

as a fully automatic weapon by a single function of the trigger, knowing                     it   had

characteristics that made    it   a machinegun as defined by Title 26, United States Code,

Section 5845(b), all in violation of Title 18, United States Code, Sections 922(o)(I) and

e2a@)Q).




                                                                                       $ffiANNH[}
                                                                                       OcT 2 6     M,^t
                                                                                                    ryP
                                                                                    U.S. DISTRIOT COUFf MPI"S
           CASE 0:21-cr-00228-DWF-ECW Doc. 1 Filed 10/26/21 Page 2 of 3

United States v. Marques Dwell Armstrong, Jr.



                                              COUNT 2
                                  (Felon in Possession of a Firearm)

         On or about October      I2,202I, in the State and District ofMinnesota, the defendant,

                            MARQUES DWELL ARMSTRONG, JR.,
                                                alWa"Keaseo"

having been previously convicted of the following crimes, each of which was punishable

by imprisonment for a term exceeding one year, namely,

                                                          Jurisdiction of       Date of Conviction
                        Crime                                                      (in or about)
                                                            Conviction
       Conspiracy    - Felon in Possession of               District of              April 2016
                 Firearms                                   Minnesota
               Felonv Theft                              Hennepin County             Mav 2016
               Felonv Theft                               Dakota Countv              Julv 2016
 Second-Desree Assault Dangerous Weaoon                  Hennepin Countv            March 2020

and knowing he had been convicted of at least one crime punishable by imprisonment for

a term exceeding one year, did knowingly possess, in and affecting interstate and foreign

commerce, a ftrearm, that is, a 9mm-caliber Glock pistol, model 26, wrth a high-capacity

magazine, bearing serial number FMC403, equipped with an attached conversion device,

commonly known as a "switch" or "auto sear," in violation of Title 18, United States Code,

Sections 922(e)Q) and 92a@)Q).

                                 FORFEITURE ALLEGATIONS

         Counts   1 and 2   ofthis Indictment are hereby realleged and incorporated by reference

as   if fully set forth herein for the pu{pose of alleging forfeitures pursuant to Title   18,   United

States Code, Section 924(d)(I), and Title 28, United States Code, Section 2461(c).

         As aresult ofthe offenses alleged in Counts      1 and 2   ofthis Indictment, the defendant

shall forfeit to the United States, pursuant to Title 18, United States Code, Section

                                                     2
         CASE 0:21-cr-00228-DWF-ECW Doc. 1 Filed 10/26/21 Page 3 of 3
United States v. Marques Dwell Armstong. Jr.



924(d)(L), and Title 28, United States Code, Section 246L(c), arLy frearms, accessories

(including any magazines, switches, conversion devices, auto sears, and other firearms

parts), and ammunition, involved in, connected with, or used in any knowing violation of,

tlre off,enses alleged, including, but not limited to, a 9mm-caliber Glock pistol, model26,

with a high-capacily magazine, bearing serial number FMC403, equipped with an attached

conversion device, commonly known as a "switch" or "auto sear."

        All in violation of Title       18, United States Code, Sections 922(9)(1), 922(o)(l),

924(a)Q), and 924(d)(1), Title 26, Unrted States Code, Section 5845(b), and Title 28,

United States Code, Section 246I(c).

                                               A TRI]E BILL



ACTING UNITED STATES ATTORNEY                            FOREPERSON
